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 6 Attorney for Plaintiff
 7 JOSE AGREDANO TORRES
 8
                             UNITED STATES DISTRICT COURT
 9
                          CENTRAL DISTRICT OF CALIFORNIA
10
                                    WESTERN DIVISION
11
12 JOSE AGREDANO TORRES,                    Case No. 2:20-cv-09610-AFM
13
           Plaintiff,                       [PROPOSED] ORDER FOR THE
14                                          AWARD AND PAYMENT OF
15                v.                        ATTORNEY FEES AND EXPENSES
                                            PURSUANT TO THE EQUAL ACCESS
16 KILOLO KIJAKAZI, Acting                  TO JUSTICE ACT
17 Commissioner of Social Security,
18              Defendant.
19
20        Based upon the parties’ Stipulation for the Award and Payment of Equal Access

21 to Justice Act Fees and Expenses, IT IS ORDERED that fees and expenses in the
22 amount of $6,600.00 as authorized under the Equal Access to Justice Act (EAJA), 28
23 U.S.C. § 2412(d), be awarded subject to the terms of the Stipulation.
24 DATE: 12/6/2021
25
                                          ____________________________________
26                                        HON. ALEXANDER F. MACKINNON
27                                        UNITED STATES MAGISTRATE JUDGE
28
